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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

FRED PONDER,                                )
                                            )
        Plaintiff,                          )
                                            ) CASE NO. 1:16-cv-04125-ODE-LTW
v.                                          )
                                            )
OCWEN LOAN SERVICING, LLC,                  )
                                            )
        Defendant.                          )
                                            )

      OCWEN LOAN SERVICING, LLC’S MEMORANDUM OF LAW IN
     SUPPORT OF ITS MOTION FOR PROTECTIVE ORDER TO QUASH
     PLAINTIFF’S NON-PARTY SUBPOENAS TO BOSTON PORTFOLIO
            ADVISORS, INC. AND STONETURN GROUP, LLP

        Pursuant to Federal Rules of Civil Procedure 26 and 45, Defendant Ocwen

Loan Servicing, LLC (“Ocwen”), respectfully files this Motion for Protective Order

seeking to quash the Non-Party Subpoenas issued by Plaintiff to Boston Portfolio

Advisors, Inc. (“BPA”) and StoneTurn Group, LLP (“StoneTurn”). In support,

Ocwen states as follows:1

1
  Ocwen filed a Motion to Quash the Subpoena directed to BPA in the U.S. District Court
for the Southern District of Florida, Fort Lauderdale Division, at Case No. 0:19-MC61194,
on May 10, 2019, and is filing the instant Motion for Protective Order in this Court out of
an abundance of caution and in accordance with Rule 26(c), which expressly allows such
a filing in cases in which discovery disputes involve multiple courts. See Melder v. State
Farm Mut. Auto. Ins. Co., CIVA108CV1274RWSJFK, 2008 WL 1899569, at *3 (N.D. Ga.
Apr. 25, 2008) (citing United States v. Star Scientific, Inc., 205 F. Supp. 2d 482, 485 (D.
Md. 2002)). Pursuant to Fed. R. Civ. P. 45(f), Ocwen has asked the Florida District Court
to transfer the BPA Motion to Quash to this Court for resolution. See Melder, 2008 WL
1899569, at *5 (approving transfer of motion to quash to forum court). See also Kearney

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                                 INTRODUCTION

        Plaintiff, whose mortgage loan is currently serviced by Ocwen, has filed

claims against Ocwen for purported statutory violations under the Real Estate

Settlement Procedures Act (“RESPA”), the Fair Credit Reporting Act (“FCRA”),

and the Fair Debt Collection Practices Act (“FDCPA”). Despite this lawsuit being

limited to only these three statutory claims, Plaintiff has served hundreds of

discovery requests on Ocwen and is in the process of seeking broad, sweeping, and

grossly disproportionate discovery from multiple non-parties.

        Rather than address his discovery grievances through the Court’s procedures

in this case, Plaintiff has instead served invasive and harassing subpoenas to several

non-parties, including the New York Department of Financial Services (“NY

DFS”)2, BPA, and StoneTurn seeking (among other things), audit reports conducted



for Kearney v. Jandernoa, 172 F.R.D. 381, 383 n. 4 (N.D. Ill. 1997) (noting that “a
protective order under Rule 26(c) can be sought/determined in the court where the
underlying action is pending, as well as the court from which the subpoena issued”) and
Nunag-Tanedo v. E. Baton Rouge Par. Sch. Bd., 112CV01262TWTJFK, 2012 WL
12888856, at *3 (N.D. Ga. May 15, 2012) (citing Star Scientific and Kearney for same
propositions). Ocwen also anticipates filing a Motion to Quash the StoneTurn Subpoena
in the United States District Court for the District of Massachusetts, as compliance with
that subpoena is requested in that district. (Doc. 114.)
2
  On May 3, 2019, Ocwen was compelled to file a Motion to Quash a non-party subpoena
issued by Plaintiff to the Real Estate Division of the New York Department of Financial
Services (“NY DFS”) in the United States District Court for the Southern District of New
York, Manhattan Division, now pending as Miscellaneous Proceeding No. 1:19-mc-236.
The Subpoenas at issue in this Motion seek testimony and documents relating directly to
the NY DFS matters that Ocwen has already moved to quash. Ocwen also filed a Motion

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in connection with any Consent Orders entered into between Ocwen and NY DFS

and documents related thereto, all loan files provided to BPA and StoneTurn by

Ocwen for the audits in connection with said Consent Orders, and all documents

relating to Ocwen’s compliance with federal or state laws. BPA and StoneTurn

served as the “Compliance Monitors” for the December 5, 2012 Consent Order.

        Not only are the requested documents plainly irrelevant to Plaintiff’s FDCPA,

FCRA, and RESPA claims, as they involve New York borrowers and New York

loan files, but the Ocwen/NY-DFS Consent Orders date back to 2011, 2012, and

2014, and either pre-date Ocwen’s servicing of Plaintiff’s loan or fall far outside the

applicable statues for limitation for Plaintiff’s claims. Additionally, the requested

documents are protected from disclosure under various state and federal banking and

privacy laws.

        It is unreasonable, and frankly, a waste of time and resources of all involved,

including this Court and the other district courts where motions to quash have been

filed, to allow Plaintiff to obtain any information from BPA and StoneTurn or depose

BPA and StoneTurn, because the Subpoenas seek wholly irrelevant information, and

are burdensome, harassing, and grossly disproportionate to the claims at issue in this

case. Furthermore, Ocwen has already objected to producing the requested



for Protective Order in this Court contemporaneously with the filing of the Motion to
Quash in the Southern District of New York. (See Doc. 112.)

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documents and information, and Plaintiff has not obtained any order from this Court

compelling the disclosures to date.

        Plaintiff is clearly abusing the discovery process and using this case as an

improper fishing expedition. There is no reasonable explanation or justification for

Plaintiff seeking information from non-party auditors whose reports concern

borrowers of another state (New York) that were completed several years ago.

Accordingly, Ocwen seeks an order protecting the disclosure of the requested

documents and quashing the subpoenas to BPA (Doc. 110) and StoneTurn (Doc.

114), together for purposes of this Motion, the “Subpoenas”) for the reasons more

specifically set forth below.

                            RELEVANT FACTUAL BACKGROUND

        On November 3, 2016, Plaintiff filed a single-count FCRA Complaint against

Ocwen. (Doc. 1.) On January 16, 2017, Plaintiff amended his Complaint adding

claims for negligence and alleged violations under the FDCPA and RESPA. (Doc.

16.) Ocwen moved to dismiss the Amended Complaint, and in response, Plaintiff

requested and obtained leave to amend his Complaint a second time. (Doc. 35, 39.)

After further 12(b)(6) briefing, the Court entered an order dismissing Plaintiff’s

negligence claim, but allowing the RESPA, FDCPA, and FCRA claims to proceed

to discovery. (Doc. 70.)




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        The parties exchanged written discovery in January 2019. Shortly after

Ocwen served its objections and responses to Plaintiff’s first set of written discovery,

Plaintiff’s counsel served a second set of written discovery. (Doc. 92.) While the

first round of discovery requests was markedly voluminous with over 120 separate

requests, the second set of discovery was absurd: 168 requests for admissions and

28 additional document requests. 3 What’s more, none of the nearly 200 additional

discovery requests directly relate to Plaintiff or his mortgage loan. Rather, the nearly

200 additional discovery requests in the second set of discovery seek information

relating to audits, Ocwen’s servicing platforms, including REALServicing, manuals

and related documents for Ocwen’s servicing platforms, information about any

technical defects or processing issues, and various internal policies and procedures.

(Doc. 112-2, at pp. 2-12.)4 Also included are requests concerning a Consent Order

entered into between Ocwen and the NY DFS on December 19, 2014.5 Specifically,

Plaintiff requests that Ocwen produce “all reports by the Compliance Monitor


3
  In total, Plaintiff has served (and Ocwen has timely responded to) 32 interrogatories, 230
requests for admissions, and 62 document requests to date.
4
 True and correct copies of the relevant requests and objections are attached to Ocwen’s
Motion for Protective Order relating to the NY DFS Subpoena at Doc. 112-2. The NY
DFS Subpoena demanded the production of “Compliance Monitor and Targeted
Examination Reports enforcing the Consent Orders entered between [NY DFS] and Ocwen
Financial Corporation and Ocwen Loan Servicing, LLC including those entered on
9/15/2011, 12/15/2011, 12/5/2012, and 12/19/2014.” (Doc. 104.)
5
 A true and correct copy of the December 19, 2014, Consent Order is attached to Ocwen’s
Motion for Protective Order relating to the NY DFS Subpoena at Doc. 112-1.

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identified in ¶ 9” of the December 19, 2014, Consent Order, and “all reports by the

Operations or Compliance Monitors generated” pursuant to the December 19, 2014,

Consent Order. (Doc. 112-2, p. 12.) BPA and StoneTurn served as the “Compliance

Monitors” pursuant to the Consent Order between NY DFS and Ocwen dated

December 5, 2012.

        Notably, none of these requests has any bearing on whether Plaintiff violated

RESPA, FCRA, or the FDCPA—which are the only operative claims in this case.

Nor does Plaintiff’s Complaint allege any facts suggesting a problem with Ocwen’s

REALServicing platform as it relates to his loan, or that he suffered from any

technical deficiencies, or that his loan was part of any “audit” or “compliance

monitor” report. Consequently, Ocwen objected to Plaintiff’s discovery requests on

multiple grounds, including burdensomeness, relevancy, not appropriately limited in

time or tailored in scope, broadness, disproportionality, outside the applicable statute

of limitations, and confidentiality. Ocwen also objected on the grounds that Plaintiff

is on an improper fishing expedition that violates the spirit and rules of discovery.

        Undeterred, Plaintiff issued non-party subpoenas to NY DFS, BPA and

StoneTurn. The Subpoenas to BPA and StoneTurn seek the following documents

and testimony relating thereto:

        1. All Audits conducted in connection with any Consent Order entered
        by Ocwen with the New York Department of Financial Services
        (NYDFS).


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        2. All Ocwen borrower electronic or printed loan files produced or
        provided to [BPA/StoneTurn] by Ocwen for audits in connection with
        the Consent Orders identified at ¶ 1, supra.

        3. All audits, reports, evaluations, business plans (or the like),
        summaries or communications generated or received by
        [BPA/StoneTurn] regarding the violations, complaints, problems, or
        compliance issues reported or discovered by [BPA/StoneTurn] during
        and after the audits of Ocwen borrowers' files pursuant to the Consent
        Orders identified at ¶ 1, supra.

        4. All documents and communications that refer or relate to Fred
        Ponder.

        5. All communications and other documents, whether electronic or
        printed, which evidence or relate to Ocwen's compliance with federal
        or state laws; including, but not limited to, the Consent Orders
        identified at ¶ 1, supra.

(Doc. 110 and Doc. 114, pp. 1-2, emphasis added.)

        Again, these requests seek information that is entirely irrelevant to Plaintiff’s

claims. Furthermore, BPA’s and StoneTurn’s involvement with Ocwen solely

relates to the December 2012 Consent Order with NY DFS, which impacts only New

York borrowers. Plaintiff is not a New York borrower. He is a Georgia resident,

with a Georgia loan, on a Georgia property. Further, BPA’s and StoneTurn’s

engagement expressly provides that any access either of them had to Ocwen systems

or information was specifically for use during the engagement and is considered

confidential supervisory information pursuant to New York’s Banking Law §§ 36.10

and Regulations, 3NYCRR, and any other applicable state and federal laws and

regulations.      Upon termination of the engagement, BPA and StoneTurn were

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required to return all documents and material belonging to Ocwen, NY DFS, or any

other regulator. Therefore, they should not have any documents beyond what it has

returned to Ocwen or NY DFS. Finally, per the terms of their engagement, the

Compliance Monitors were engaged for a period of 2 years, starting in June 2013.

Thus, BPA’s and StoneTurn’s involvement with Ocwen also falls outside the

applicable statutes of limitation for the statutory claims at issue.

        Viewed in context with Plaintiff’s other discovery efforts, it is clear that

Plaintiff and his counsel are simply on a mission to harass Ocwen, NY DFS, BPA,

StoneTurn, and others with irrelevant, obtrusive, grossly disproportionate, and

unduly burdensome requests. Ocwen has accommodated relevant, reasonable

discovery requests by Plaintiff. However, Ocwen is unwilling to allow Plaintiff to

use abusive tactics or to subject it, BPA, or StoneTurn to unreasonable, grossly

irrelevant discovery demands, like the Subpoenas in this case. As such, this Court

should enter a protective order effectively quashing the Subpoenas.

                   ARGUMENT & CITATION TO AUTHORITIES

I.      APPLICABLE LEGAL STANDARD.

        Discovery in all matters is limited to only what is relevant to a party's claim

or defense or that which is reasonably calculated to lead to the discovery of

admissible evidence. FED R. CIV. P. 26(b); Chudasama v. Mazda Motor Corp., 123

F.3d 1353, 1368 (11th Cir. 1997) (explaining claims and defenses determine the


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scope of discovery). A court must “limit the frequency or extent of discovery

otherwise allowed by these rules or by local rule if it determines that: (1) the

discovery sought is unreasonably cumulative or duplicative, or can be obtained from

some other source that is more convenient, less burdensome, or less expensive; (ii)

the party seeking discovery has had ample opportunity to obtain the information by

discovery in the action; or (iii) the burden or expense of the proposed discovery

outweighs its likely benefit, considering the needs of the case, the amount in

controversy, the parties’ resources, the importance of the issues at stake in the action,

and the importance of the discovery in resolving the issues.” FED. R. CIV. P..

26(b)(2)(C).

II.     OCWEN HAS STANDING TO CHALLENGE THE NON-PARTY SUBPOENA.

        A party has standing to “quash a subpoena directed at a non-party where the

party is seeking to protect a personal privilege or right.” Melder, 2008 WL 1899569,

at *2. Furthermore, a party has standing to challenge a non-party subpoena seeking

the same information requested directly from the party. Id.

        In this case, Plaintiff seeks many of the same documents from BPA and

StoneTurn as it previously did in his Requests for Production issued directly to

Ocwen, and in the NY DFS Subpoena (which Ocwen has similarly moved to quash).

Any additional documents demanded from BPA and StoneTurn relate directly to the

documents already requested from Ocwen but cover an earlier time period, and they


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are subject to the same and further objections. Because there currently exists a

dispute between Plaintiff and Ocwen concerning the documents to be produced by

Ocwen, and the outcome of that dispute potentially impacts the duplicative requests

directed at BPA, Ocwen has standing to move to quash the non-party Subpoena to

BPA. See id. (finding party had standing to quash non-party subpoena seeking

documents which were requested directly from the party and were the subject of a

discovery dispute); Langford v. Chrysler Motors Corp., 513 F.2d 1121, 1126 (2d

Cir. 1975) (upholding lower court’s quashing of non-party subpoena in light of

motion of party plaintiff where “[t]he materials sought were not only voluminous,

but also they had no relevance to the main issues in the case . . .”).

III.    A PROTECTIVE ORDER SHOULD BE ENTERED PRECLUDING THE REQUESTED
        DISCOVERY.

        Under Rule 26, “[p]arties may obtain discovery regarding any nonprivileged

matter that is relevant to any party’s claim or defense . . . .” FED. R. CIV. P. 26(b)(1).

However, a court must quash or modify a subpoena if it “requires disclosure of

privileged or other protected matter, if no exception or waiver applies” and may

quash or modify a subpoena if it discloses certain confidential information. FED. R.

CIV. P. 45(c)(3)(A)(iii), (B)(i). To make this determination, courts apply a balancing

test, weighing the probative value of the documents sought against the burden of

complying with the subpoena, considering the following factors: “relevance of the

information requested, the requesting party’s need for the documents, the breadth of

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the document request, the time period covered by the request and the burden

imposed, including the expense and inconvenience to a nonparty to whom a request

is made.” Se. Mech. Servs., Inc. v. Brody, No. CIV.A.1:09CV0086-GETS, 2009 WL

3095642, *3 (N.D. Ga. June 22, 2009).

        The decision to enter a protective order is within the court's discretion and

does not depend on a legal privilege. Farnsworth v. Procter & Gamble Co., 758 F.2d

1545, 1548 (11th Cir. 1985). Rule 26(c) provides that upon a showing of good cause,

a court “may make any order which justice requires to protect a party or person from

annoyance, embarrassment, oppression, or undue burden or expense.” Here, both

legal privilege and good cause support the entry of a protective order with respect to

the Subpoena for several reasons, as explained below.6

        A.      The Documents Sought Are Not Relevant to Plaintiff’s Claims.

        The scope of discovery is not without limits. Oppenheimer Fund v. Sanders,

437 U.S. 340, 351-52 (1978) (citing Hickman v. Taylor, 329 U.S. 495, 501 (1947)).

Here, Plaintiff’s Subpoenas seek testimony and documents that could not possibly

concern “any nonprivileged matter that is relevant to any party’s claim or defense.”


6
  “The scope of discovery under a Rule 45 subpoena is the same as that permitted under
Rule 26.” Cty. of Niagara v. Netherlands Ins. Co., 14-CV-737A(F), 2017 WL 2059808, at
*3 (W.D.N.Y. May 15, 2017), aff'd at 14-CV-737-A(F), 2017 WL 3917133 (W.D.N.Y.
Sept. 7, 2017). See also Bahrami v. Maxie Price Chevrolet-Oldsmobile Inc., No. 1:11-CV-
4483-SCJ-AJB, 2013 WL 3800336,a t *3 (N.D. Ga. June 19, 2013) (“Discussion of the
scope of discovery allowed under a subpoena requires consideration of Rule 26.”); Brody,
2009 WL 3095642 at *2.

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FED. R. CIV. P. 26(b)(1). Liability in this case does not turn on audits conducted in

connection with Consent Orders entered into between Ocwen and the NY DFS,

Ocwen borrower files in New York—entirely unrelated to Plaintiff’s loan, or

documents from the years prior to Ocwen’s servicing of Plaintiff’s loan. Moreover,

the testimony and documents sought relate directly to an investigation by the New

York Department of Finance, but Plaintiff is from Georgia and the mortgage loan at

issue relates to real property in the State of Georgia. The Consent Orders with NY

DFS and any related reports or underlying documents have nothing to do with

Plaintiff, his loan, or the claims asserted under RESPA, the FDCPA or the FCRA.

        Furthermore, the requested documents fall outside the applicable statutes of

limitation of the claims at issue. Plaintiff, who filed his FCRA claim in November

2016, and his RESPA and FDCPA claims in January 2017, attempts to reach far

back into the past to obtain compliance and examination reports related to consent

orders entered into in New York in 2011 and 2012 – well before any of his claims

could have accrued based on the applicable statutes of limitation.7 See McCarley v.

KPMG Int'l, 293 Fed. Appx. 719, 722 (11th Cir. 2008) (noting RESPA’s three-year

statute of limitation); Kelley v. Law, 1:13-CV-266-WSD-ECS, 2013 WL 12382670,



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  It is undisputed that Ocwen begin servicing the subject loan in November 2011;
yet Plaintiff seeks documents from NY DFS (and now BPA and StoneTurn) prior to
that time beginning of the servicing of the loan as he requests documents related to
the September 2011 Consent Order.
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at *2 (N.D. Ga. Apr. 29, 2013) (dismissing FDCPA claim because it concerned a

communication that fell outside “the one-year statute of limitations for FDCPA

claims and citing 15 U.S.C. § 1692k(d)); Lamb v. Verizon Wireless Servs., L.L.C.,

284 Ga. App. 696, 697, 644 S.E.2d 412, 413 (2007) (reciting FCRA’s two year

statute of limitation). Even the December 2014 Consent Order described in the NY

DFS subpoena (Doc. 104) and any related audits, summaries, reports, and the like

fall outside the scope of relevant information because Plaintiff’s RESPA claims

concern the timing and response to his purported Notices of Error and Qualified

Written Requests to Ocwen, which are clearly governed by the statute itself.

        In the Second Amended Complaint, Plaintiff alleges that Ocwen RESPA by

failing to (1) acknowledge receipt of Plaintiff’ inquiries, qualified written requests,

and notices of error within five (5) days of receipt, (2) conduct a reasonable

investigation into errors raised by Plaintiff in a notice of error, (3) provide Plaintiff

with a written response regarding the outcome of Ocwen’s investigation into the

errors and issues raised by Plaintiff, (4) provide Plaintiff with a written statement as

to Plaintiff’s right to request documentation relied on by Defendant in reaching its

determination within thirty (30) days of receipt of a notice of error, (5) conduct a

reasonable investigation absent receipt of additional information from Plaintiff as a

condition precedent to conducting a reasonable investigation into errors and issues

raised by Plaintiff. (Doc. 53, pp. 23-26.) None of these issues are determined or


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impacted by any compliance review or examination conducted by NY DFS,

StoneTurn, or BPA. Rather, any liability under RESPA turns purely on whether

Ocwen complied with its statutory obligations. BPA and StoneTurn had no

involvement with compliance monitoring outside the scope of the directives issued

in December 5, 2012 Consent Order; therefore any information BPA or StoneTurn

is irrelevant and would fall far outside the relevant time period for Plaintiff’s claims.

Finally, but equally important, the burdens of production are wholly

disproportionate to any benefit of disclosure, considering the limited damages

permitted under the three statutory claims at issue.

        Rule 26 commands that the Court:

        “must limit the frequency or extent of discovery otherwise allowed by
        these rules . . . if it determines that . . . the discovery sought is
        unreasonably cumulative or duplicative, or can be obtained from some
        other source that is more convenient, less burdensome, or less
        expensive; . . .[or] the burden or expense of the proposed discovery
        outweighs its likely benefit, considering the needs of the case, the
        amount in controversy, the parties’ resources, the importance of the
        issues at stake in the action, and the importance of the discovery in
        resolving the issues.

FED. R. CIV. P. 26(b)(2)(C); United Parcel Svc. of Am., Inc. v. The Net, Inc., 222

F.R.D. 69, 71 (E.D.N.Y. 2004) (“[T]he maturation of Rule 26(b)(2) over several

decades allows judges to use the limitations of Rule 26(b)(2) with increasing

frequency and with an eye toward equity.”). See also Shannon v. Albertelli Firm,

P.C., No. 14-11832, 2015 WL 2114055, at *4 (11th Cir. May 7, 2015) (“[W]e agree


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with the district court that [the] discovery requests were simply a ‘fishing

expedition’ whose burdens or expenses ‘outweigh[ed] [their] likely benefit.’”).

        Courts in this Circuit routinely limit or quash discovery requests, including

non-party requests, where, as here, the discovery sought is not relevant to the claims

or beneficial to the Court’s determination of the legal issues. See, e.g., Hernandez

v. Hendrix Produce, Inc., CV613-053, 2014 WL 953503, at *2-3 (S.D. Ga. Mar. 10,

2014) (granting motion to quash subpoena seeking information unrelated to core

focus of their case); Alig-Mielcarek v. Jackson, 286 F.R.D. 521, 527 (N.D. Ga. 2012)

(declining to enforce broad discovery of private documents without limitations

where requests were “like a bulldozer that levels an entire hill in the hopes of finding

some specks of gold”); Rosenbaum v. Becker & Poliakoff, P.A., No. 08-cv-81004,

2010 WL 623699, at * 9 (S.D. Fla. Feb. 23, 2010) (explaining Rule 26(b)(2)(C)

imposes “a ‘rule of proportionality’ which requires discovery to be restricted where

the burden or expense outweighs the proposed benefit”). The same principles apply

here.    This Court should enter an order quashing the Subpoenas because the

information sought is not relevant, and it is grossly disproportionate considering the

limited scope of the claims asserted and damages available.

        B.      State Laws Preclude Disclosure of the Documents.

        Second, a protective order should be entered because the materials and the

documents requested are confidential in nature and are protected from disclosure by


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state Banking laws.8 New York Banking Law § 36 provides a broad protection from

disclosure for all documents concerning or arising from a regulatory examination or

investigation:

        All reports of examinations and investigations, correspondence and
        memoranda concerning or arising out of such examination and
        investigations . . . shall be confidential communications, shall not be
        subject to subpoena and shall not be made public unless, in the
        judgment of the superintendent, the ends of justice and the public
        advantage will be subserved by the publication thereof, in which event
        the superintendent may publish or authorize the publication of a copy
        of any such report or any part thereof in such manner as may be deemed
        proper or unless such laws specifically authorize such disclosure.

NY BANKING LAW § 36(10) (emphasis added). New York courts have consistently

enforced these protections from disclosure of regulatory supervisory materials.

Alaska Elec. Pension Fund v. Bank of Am. Corp., 14-CV-7126 (JMF), 2016 WL

6779901, at *5 (S.D.N.Y. Nov. 16, 2016) (denying motion to compel production of

documents, applying N.Y. Banking Law § 36(10), and “New York Banking Law

protects DFS materials from disclosure.”); Clark v. Flynn, 9 A.D.2d 249, 252 (N.Y.

App. Div. 1959) (holding that letter from Superintendent to examined bank

regarding the Department’s report and recommendation fell within the scope of

documents subject to the New York banking privilege); see also Matter of Estate of

Saxon, 176 Misc. 2d 724, 727, 673 N.Y.S.2d 625 (N.Y. Sur. 1998) (“witness by law



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  Ocwen has already objected to the production of such documents in discovery on these
and other grounds. (Doc. 112-2.)

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[was] prohibited from revealing any aspect of the bank examiner reports conducted

by the Superintendent”).

        A closer examination of the Subpoenas to BPA and StoneTurn demonstrates

the materials sought are protected from disclosure by the New York Banking Law.

Among other things, the subject Subpoenas seek audit files and related documents

in connection with any Consent Orders entered into by Ocwen with the NY DFS, all

Ocwen files provided to BPA or StoneTurn by Ocwen for the audits in connection

with said Consent Orders, and all documents relating to Ocwen’s compliance with

federal or state laws. These documents would include information pertaining

directly to NY DFS examinations or investigations. As such, they should not be

subject to subpoena under the New York Banking Law. NY Banking Law § 36(10).

        Likewise, the Georgia statutes offer similar protections from disclosure of

documents relating to regulatory investigations conducted by the Georgia

Department of Banking and Finance. See Fed. Ins. Deposit Corp. v. Briscoe, Civil

Action No. 1:11-cv-2303-SCJ, 2014 WL 12775663, at *3 (N.D. Ga. Feb. 4, 2014)

(denying motion to compel documents relating to examination and reports from non-

party Ga Dep’t of Banking and Finance). Under O.C.G.A. § 7-1-70, all records of

the Department are confidential. In fact, certain documents are never subject to

disclosure absent a specific order from a court which “holds the public interest in the

safety and soundness of the banking system and its regulation to be outweighed by


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other interests of justice.” O.C.G.A. § 7-1-70(c)(3). This category includes internal

investigations, documents, and notes which reflect the deliberative processes of

employees; advisory opinions; notes and memos of the Department that are not

purely factual in nature; and other similar materials or notes. Id.

        Similarly, Florida banking law provides that “reports of examinations,

operations, or condition, including working papers, or portions thereof, prepared by,

or for the use of, the [Office of Financial Regulation] or any state or federal agency

responsible for the regulation or supervision of financial institutions in this state are

confidential . . . .” Fla. Stat. § 655.057(2).

        Ultimately, whether Ocwen violated its statutory obligations to Plaintiff—a

Georgia resident—under the FCRA, FDCPA or RESPA, as alleged in the underlying

case does not turn on whether Ocwen complied with the Consent Orders issued by

NY DFS.         Any acts by BPA and StoneTurn as the compliance monitors for the

December 2012 Consent Order do not involve Plaintiff (who is not a New York

borrower) or change Ocwen’s obligations under the referenced statues. Moreover,

the time period when BPA and StoneTurn were involved is outside the statutes of

limitations for the alleged claims. Because the requested testimony and documents

do not alter Ocwen’s federal statutory responsibilities, this information is not

germane to the issue of Ocwen’s liability here. As such, a protective order should

be entered in Ocwen’s favor with respect to the Subpoenas.


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        C.      The Federal Banking Examination Privilege Protects The
                Disclosure of the Requested Documents.

        A protective order should also be entered because the documents sought are

privileged pursuant to the federal banking examination privilege. “Federal courts

‘have long recognized that the report of a bank examiner is protected by a qualified

privileged.’” Rouson ex rel. Estate of Rouson v. Eicoff, No. 04-CV-2734 ARR KAM,

2006 WL 2927161 (E.D.N.Y. Oct. 11, 2006) (citing In re Subpoena Served upon

Comptroller of Currency, 967 F.2d 630, 633 (D.C. Cir. 1992)); In re Franklin Nat'l

Bank Sec. Litig., 478 F. Supp. 577, 580-82 (E.D.N.Y. 1979). This privilege, often

referred to as the bank examination privilege, “is firmly rooted in practical

necessity,” In re Subpoena, 967 F.2d at 633, and is “‘designed to promote the

effective functioning of an agency by allowing the agency and the regulated banks

the opportunity to be forthright in all communications.’” Mktg. Investors Corp. v.

New Millennium Bank, No. 3:11-CV-1696-D, 2012 WL 1357502, at *7 (N.D. Tex.

Apr. 16, 2012) report and recommendation adopted in part, rejected in part on other

grounds, No. 3:11-CV 1696-D, 2012 WL 2900606 (N.D. Tex. June 5, 2012) (citing

In re Bankers Trust Co., 61 F.3d 465, 471 (6th Cir. 1995)).

        The bank examination privilege “protects communications between banks and

their examiners in order to preserve absolute candor essential to the effective

supervision of the banks.” Linde v. Arab Bank, PLC, No. 04-2799, 2009 WL

3055282, at *1 (E.D.N.Y. Sept. 21, 2009) (citations omitted). The privilege “covers

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the opinions and recommendations of bank examiners and the banks’ responses to

the examiners’ inquiries.” Id. (citing Bankers Trust, 61 F.3d at 471; In re Subpoena,

967 F.2d at 633-34; Bank of China v. St. Paul Mercury Ins. Co., No. 03-9797, 2004

WL 2624673, at *4 (S.D.N.Y. Nov. 18, 2004)); see also Rouson, 2006 WL 2927161

at *4 (citing Franklin Nat'l Bank, 478 F. Supp. at 581). Moreover, “[c]ourts have

justified the privilege because of the distinctively continuous and informal process

of bank regulation, which especially requires candor from regulated entities.” FHFA

v. JPMorgan Chase & Co., 978 F. Supp. 2d 267, 273 (S.D.N.Y. 2013) (citations

omitted). Indeed, the court in JPMorgan Chase stated:

        Bank safety and soundness supervision is an iterative process of
        comment by the regulators and response by the bank. The success of
        the supervision therefore depends vitally upon the quality of
        communication between the regulated banking firm and the bank
        regulatory agency. This relationship is both extensive and informal . . .
        in the sense that it calls for adjustment, not adjudication . . . . These
        conditions simply could not be met as well if communications between
        the bank and its regulators were not privileged.

Id. (quoting In re Subpoena, 967 F.2d at 633).

        Here, the Subpoenas seek documents that would contain the opinions,

recommendations, and analyses of BPA and StoneTurn in their roles as the

Compliance Monitors for the December 2012 Consent Order. The cases make it

clear that the banking examination privilege protects “agency opinions and

recommendations and banks’ responses thereto.” Bankers Trust, 61 F.3d at 471. See

also FHFA v. HSBC N. Am. Holdings Inc., No. 11-6189, 2014 WL 1909446, at *3

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(S.D.N.Y. May 13, 2014) (holding that bank examination privilege applied to

documents sent to banking regulator reflecting items to discussed at a joint meeting,

documents providing narrative answers to regulator’s questions, and documents

providing qualitative reviews of the regulated entities operations). Thus, the BPA

and StoneTurn documents are protected from disclosure by the banking examination

privilege. Plaintiff has not and cannot show any good cause to override the privilege

in this case.

III.    IF THE COURT IS NOT INCLINED TO ENTER THE PROTECTIVE ORDER
        REQUESTED, THE COURT SHOULD MODIFY THE SUBPOENA AND REQUIRE
        DOCUMENTS TO BE PRODUCED UNDER SPECIAL CONDITIONS.

        If the Court ultimately decides not to enter a protective order and/or the

documents sought from BPA and StoneTurn are ordered produced pursuant to the

Subpoenas by this Court, the Florida District Court, or the Massachusetts District

Court, this Court should enter an order providing that any documents produced be

limited to an appropriate time period and to allow for redactions of irrelevant,

confidential, and/or proprietary information that is unrelated to Plaintiff’s statutory

claims in the underlying case. Further, such documents should be produced subject

to an agreed upon confidentiality order. Farnsworth, 758 F.2d at 1548 (“Rule 26(c)

gives the district court discretionary power to fashion a protective order . . . which

does not depend on a legal privilege.”).




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        This Court may issue an order “forbidding inquiry into certain matters.” FED.

R. CIV. P. 26(c)(1)(D). A protective order issued pursuant to Fed. R. Civ. P. 26(c)

is based on the standard of “good cause,” which calls for a “sound basis or legitimate

need” to limit discovery of the subject information. In re Alexander Grant & Co.

Litigation, 820 F.2d 352, 356 (11th Cir. 1987); Fed. R. Civ. P. 26(c)(1) (“[A] court

may, for good cause, issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.”). Here, if the Court

ultimately decides that certain of the documents should be produced or certain

testimony be obtained from BPA or StoneTurn, the Subpoenas should be limited to

only that which is relevant to the claims alleged, within a timeframe that is not barred

by the statutes of limitation, with all other extraneous or non-applicable information

redacted, and any documents should be subject to an agreed confidentiality order.

                                   CONCLUSION
        In sum, there is nothing relevant to either party’s claims or defenses in this

case that Plaintiff could obtain from the testimony or the production of the

documents demanded in the Subpoenas. Moreover, the subpoenaed documents are

highly confidential and protected by state and federal banking and regulatory laws.

Accordingly, this Court should enter a protective order and quash the non-party

Subpoenas to BPA and StoneTurn. In the alternative, Ocwen respectfully requests

that this Court enter an order limiting the Subpoenas to an appropriate time period


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and to allow for redactions of irrelevant, confidential, and/or proprietary

information.


                            CERTIFICATE OF COMPLIANCE

        Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing motion has

been prepared in compliance with Local Rule 5.1 (B) and (C), using 14-point Times

New Roman font.


        Dated: May 13, 2019.

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                            CERTIFICATE OF SERVICE

        I certify that I have this 13th of May, 2019, electronically filed the foregoing

OCWEN LOAN SERVICING, LLC’S MEMORANDUM OF LAW IN

SUPPORT OF ITS MOTION FOR PROTECTIVE ORDER TO QUASH

PLAINTIFF’S NON-PARTY SUBPOENAS TO BOSTON PORTFOLIO

ADVISORS, INC. AND STONETURN GROUP, LLP with the Clerk of Court

using the CM/ECF system, which will electronically serve the same on Plaintiff’s

counsel of record listed below:

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